             Case 3:10-cv-00967-SRU Document 39 Filed 10/15/10 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - x CIVIL ACTION NO.:
POPTECH, L.P.,                                                          :
                                                                        : 3:10-CV-00967 (MRK)
                                         Plaintiff,                     :
                                                                        :
          vs.                                                           :
                                                                        :
                                                                        :
                                                                        :
STEWARDSHIP INVESTMENT ADVISORS,
                                                                        : October 15, 2010
LLC, ET AL.,
                                                                        :
                                         Defendants.                    :
                                                                        :
------------------------------------X

        DEFENDANT ACORN CAPITAL GROUP, LLC’S MOTION TO DISMISS

        Pursuant to Fed. R. Civ. P. 9(b), 12(b)(1), 12(b)(6), and the Private Securities Litigation

Reform Act of 1995 (“PSLRA”), defendant ACORN CAPITAL GROUP, LLC (“Acorn”) hereby

moves to dismiss Counts Four, Seven, Nine, Ten and Eleven of the Complaint. The reasons in

support of this motion are that the plaintiff lacks standing to assert the purported direct claims in

Counts One through Six of the Complaint, that the state law derivative claims in Counts Seven

through Eleven fail because there is no basis for the exercise of supplemental jurisdiction, and

that the Complaint alleges insufficient facts against Acorn to state a claim upon which relief can

be granted. As explained in the accompanying Memorandum in Support of Acorn Capital

Group, LLC’s Motion to Dismiss, Acorn incorporates by reference and adopts the law and

arguments of codefendants Marlon Quan and Stewardship Investment Advisors, LLC and other

defendants in support of this motion.

        Accordingly, Acorn respectfully requests that this motion be GRANTED and Counts

Four, Seven, Nine, Ten and Eleven of the Complaint be DISMISSED.



1631584v.2
             Case 3:10-cv-00967-SRU Document 39 Filed 10/15/10 Page 2 of 3




                                                DEFENDANT,
                                                ACORN CAPITAL GROUP, LLC

                                        By:     /s/ Patrick J. Monahan II
                                                Patrick J. Monahan II [ct 06727]
                                                GARFUNKEL WILD, P.C.
                                                350 Bedford Street, Suite 406A
                                                Stamford, Connecticut 06901
                                                Phone: (203) 316-0483
                                                Fax: (203) 316-0493
                                                pmonahan@garfunkelwild.com




                                          -2-
1631584v.2
             Case 3:10-cv-00967-SRU Document 39 Filed 10/15/10 Page 3 of 3




                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - x CIVIL ACTION NO.:
POPTECH, L.P.,                                                          :
                                                                        : 3:10-CV-00967 (MRK)
                                         Plaintiff,                     :
                                                                        :
          vs.                                                           :
                                                                        :
                                                                        :
                                                                        :
STEWARDSHIP INVESTMENT ADVISORS,
                                                                        : October 15, 2010
LLC, ET AL.,
                                                                        :
                                         Defendants.                    :
                                                                        :
------------------------------------X

                                     CERTIFICATE OF SERVICE

        I hereby certify that on October 15, 2010, a copy of the foregoing Defendant Acorn
Capital Group, LLC’s Motion to Dismiss was filed electronically and served by mail on anyone
unable to accept electronic filing. Notice of this filing will be sent by e-mail to all parties by
operation of the Court’s electronic filing system or by mail to anyone unable to accept electronic
filing as indicated on the Notice of Electronic Filing. Parties may access the filing through the
Court’s CM/ECF System.

                                                            /s/ Patrick J. Monahan II
                                                            Patrick J. Monahan II




                                                      -3-
1631584v.2
